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       IT IS FURTHER ORDERED that the application and this Order are sealed until
                            UNITED STATES DISTRICT COURT
otherwise ordered by theFOR THE SOUTHERN DISTRICT OF INDIANA
                         Court.
                                INDIANAPOLIS DIVISION

IT IS SO ORDERED
  JOHN DOE,                                )
                                           )
                    Plaintiff,             )
                                           )
                         Date: 1/27/2017
                    v.                     )         Case No. 1:18-cv-3713-TWP-MJD
                                           )       ________________________
 INDIANA UNIVERSITY,                       )       Hon. Tanya Walton Pratt, Judge
                                           )       United States District Court
                    Defendant.             )       Southern District of Indiana


                            ORDER GRANTING MOTION TO SUBSTITUTE

          The Plaintiff, John Doe having submitted his Motion to Substitute, and the Court having

 reviewed the same, now GRANTS the Motion.

          It is therefore ORDERED, ADJUDGED and DECREED that Exhibit 3 of Docket 47 is

 WITHDRAWN. The corrected exhibit can be located at Dkts 56-1, 56-2 and 56-3.



 So ORDERED

              Date: 1/7/2019

                                                      ________________________
                                                      Hon. Tanya Walton Pratt, Judge
                                                      United States District Court
                                                      Southern District of Indiana




  Distribution to all electronically
  registered counsel of record via
  CM/ECF


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